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    IT IS ORDERED as set forth below:



    Date: November 13, 2024
                                                              _________________________________

                                                                       Barbara Ellis-Monro
                                                                  U.S. Bankruptcy Court Judge

  ________________________________________________________________




                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                             :   CHAPTER 11
                                                    :
 ARC MANAGEMENT GROUP, LLC,                         :   CASE NO. 23-61742 - BEM
                                                    :
                 DEBTOR.                            :

               ORDER APPROVING APOINTMENT OF S. GREGORY HAYS
                           AS CHAPTER 11 TRUSTEE

          The Court having considered the Application of the United States Trustee for entry of an

 Order approving appointment of S. Gregory Hays as Chapter 11 Trustee in the above-captioned

 case filed November 12, 2024 (Dkt. No. 229), it is hereby

          ORDERED that the appointment is approved. It is further

          ORDERED that the Clerk, U.S. Bankruptcy Court, shall serve a copy of this order upon

 Debtor, the United States Trustee, and all creditors and other parties in interest.

                                          [END OF DOCUMENT]
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 Order prepared and presented by:

            /s/
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